           Case 1:22-cr-00414-JEB Document 24 Filed 05/24/23 Page 1 of 1



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                  )
                                           )
      v.                                   )
                                           )     Case No. 1:22-cr-00414-JEB-1
ANDREW JOHNSON,                            )
                                           )
                           Defendant.      )

                                NOTICE OF APPEARANCE

   COMES NOW the undersigned, and respectfully requests the Clerk of Court to enter his

appearance as counsel for the Defendant.

                                           Respectfully submitted,

                                           ANDREW JOHNSON
                                           By Counsel


                                           /s/ Pleasant Brodnax     .
                                           Pleasant S. Brodnax, III
                                           1701 Pennsylvania Avenue, NW
                                           Suite 200
                                           Washington, D.C., 20006
                                           (202) 462-1100


                               CERTIFICATE OF SERVICE

     I hereby certify that a copy of the foregoing was filed by CM/ECF on the 24th day of May
2023, which will send a notification of such filing (NEF) to counsel of record.


                                           /s/ Pleasant Brodnax       .
                                           Pleasant S. Brodnax, III
